Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 1 of 33 Page ID #:10




                               EXHIBIT 2
Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 2 of 33 Page ID #:11

                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        12/17/2020
                                                                                                        CT Log Number 538762762
    TO:         Tonya Anderson
                JPMorgan Chase Bank, N.A.
                700 KANSAS LN
                MONROE, LA 71203-4774

    RE:         Process Served in California

    FOR:        J.P. Morgan Chase National Corporate Services, Inc. (Domestic State: NY)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                  HIRUT DEMOZE, etc., Pltf. vs. J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES,
                                                      INC., etc., et al., Dfts.
    DOCUMENT(S) SERVED:                               -
    COURT/AGENCY:                                     None Specified
                                                      Case # 20STCV37764
    NATURE OF ACTION:                                 Employee Litigation - Discrimination
    ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:                         By Process Server on 12/17/2020 at 01:57
    JURISDICTION SERVED :                             California
    APPEARANCE OR ANSWER DUE:                         None Specified
    ATTORNEY(S) / SENDER(S):                          None Specified
    ACTION ITEMS:                                     CT has retained the current log, Retain Date: 12/17/2020, Expected Purge Date:
                                                      01/16/2021

                                                      Image SOP

    REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                      818 West 7th Street
                                                      Los Angeles, CA 90017
                                                      800-448-5350
                                                      MajorAccountTeam1@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                        Page 1 of 1 / KS
   Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 3 of 33 Page ID #:12


                                                                          Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                     Thu, Dec 17, 2020

Server Name:               Jimmy Lizama




Entity Served              J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC.

Agent Name                 C T CORPORATION SYSTEM

Case Number                205TCV37764

J urisdiction              CA




                                                               1
                Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 4 of 33 Page ID #:13
Electronically FILED by Stiperior Court of California, County of Los Angeles on 10/01/20MMIl h4erri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk

                                                                                                                                                                    SUM-100

                                                 SUMMONS                                                                                       FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                             (CITACION JUDICIAL)
         NOTICE TO DEFENDANT:
         (AVISO AL DEMANDADO):
          J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC., a corporate entity form unknown;
          and DOES 1-50, inclusive,
         YOU ARE BEING SUED BY PLAINTIFF:
         (LO ESTA DEMANDANDO EL DEMANDANTE):
             HIRUT DEMOZE, an individual;
            NOTICE! You have been sued. The court may decide against you without your being heard unless you responc.within 30 days. Read the information
           below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center(www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
            be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomiaorg), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           rAVISOI Lo han demandado. Si no responde dentro de 30 riles, la carte puede decidir en su contra sin escuchar su version. Lea la inforrnacion a
           continuaci6n.
               Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta cited& ypapeles legates pare presenter usia respuesta por escrito en esta
           corte y hacer que se entregue una copia al demandante. Una carte o una Ilamada teleThnica no to protegen. Su respuesta por escrito (lane que ester
          en formato legal correcto s desea que procesen su caso en la corte. Es posible que haya un formulario que usted puede user pare su respuesta.
          Puede encontrar estos form ularios de la corte y más informaci6n en el Centro de Ayuda de las Cortes de California (wwwsucorte.ca.gov), en la
           biblioteca de (eyes de su condado o on la corte que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secreted° de la code que
           le de un forrnulario de exencion de pago de cuotas. S/no presenta su respuesta a tiempo, puede pender el caso per incumplimiento y la corte le podre
           guitar su sue/do, diner° y bienes sin mas advedencia.
               Hay otros requisites legates. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
           remisiOn a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
          prOgrama de serviclos legates sin fines de Nor°. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
         (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California,(www.sucorte.cagov) o poniondose en contacto con la corte o el
           colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
          cualquler recuperaci6n de $10,0006 mes de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
          Pager el gravamen de la cotta antes de que la code puede desechar el caso.
          The name and address of the court is: Stanley Mosk Courthouse                                                CASE NUMBER:(Numero del Case):
         (El nombre y direccion de la code es)! 111 North Hill Street
                                                                                                                           2OST CV 37764
                                                            Los Angeles, CA 90012
          The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direccion y el nOmero
          de tel6fono del abogado del demandante, o del demandante que no tiene abogado, es):
           Jihad M. Smaili (SBN: 262219); SMAILI & ASSOCIATES, PC; 600 W. Santa Ana Blvd., Suite 202, Santa Ana, CA 92701; 714-547-4700
                                                                                                                                               Court , Deputy
          DATE:      1 0/01 /2020                                                       Clerk, by Sherri R. Carter Executive Officer/ Clerk of
         (Fecha)                                                                        (Secretario)      H. F lo res-He rn an d ez (Adjunto)
         (For proof ofservice of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010).)
                                          NOTICE TO THE PERSON SERVED: You are served
                                                   1. I,     I as an individual defendant.
                                                   2.          as the person sued under the fictitious name of (specify):
                                                                                                            NATIONAL CORPORATE SERVICES, INC., a
                                                        ni on behalf of(specify): J.P. MORGAN CHASE
                                                                                    corporate entity form unknown
                                                        under:F-1 CCP 416.10 (corporation)                     -
                                                                                                               1 7 CCP 416.60(minor)
                                                                    CCP 416.20(defunct corporation)            FT CCP 416.70 (conservatee)
                                                                    CCP 416.40(association or partnership)         CCP 416.90 (authorized person)
                                                                    other (specify):
                                                             by personal delivery on (date)
                                                                                                                                                     Pa17.1 of 1
          Form Adopted for Mandatory Use                                                                                  Code of Civil Procedure §§ 412.20, 465
          Judicial Council of California
                                                                               SUMMONS
                                                                                                                                                                 www courts ca gov
          SUM-100 'Rev. July 1,20091
                   Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 5 of 33 Page ID #:14
Eiectronicall                                                                                               Her, Executive CfriC.errlerk df C.nuct_hy _E1nras-Harnande79110041fork
                 ATTORN -    PARlY,WITHOUTJ\TTORNEY(Name, State Bar number, and address                                                        FOR COURT USE ONLY
                — Jihad M. Smaili, Esq.[262219]
                  SMAILI & ASSOCIATES,PC
                  Civic Center •IllazaTowem 600 W. Santa Ana Blvd., Suite 202
                  Santa And, California 92701
                      TELEPHONE NO.:     714-547-4700                       FAX NO'   714-547-4710
                 A TTORNEY FOR (Name).   HIRUT DEMOZE
                SUPERIOR COURT OF CALIFORNIA, COUNTY OF           Los Angeles
                    STREET ADDRESS: 1 1 1 North Hill Street
                     MAILING ADDRESS:
                    CITY AND ZIP CODE:
                                             Los Angeles90012

                        BRANCH NAME:     Stanley Mosk Courthouse
                 CASE NAME:
                   HIRUT DEMOZE v. J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC.
                                                                                                             CASE NUMBER:
                    CIVIL CASE COVER SHEET                            Complex Case Designation
                      U nlimited    I I Limited                                                                 2OST CV 37764
                     (Amount             (Amount                 P1 Counter                 Joinder
                                                                                                              JUDGE:
                      demanded             demanded is           Filed with first appearance by defendant
                      exceeds $25,000)    $25,000 or less)          (Cal. Rules of Court, rule 3.402)          DEPT:

                                              Items 1-6 be ow must be omPleled(See instructions on page,2):
                   Check one box below for the case type that best describes this case:
                   Auto Tort                                   Contract                               Provisionally Complex Civil Litigation
                  7
                  1 A• uto (22)                                       [TI Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
                      Uninsured motorist(46)                        LIII Rule 3.740 collections (09)       = Antitrust/Trade regulation (03)
                  Other PI/PD/WD (Personal Injury/Property                Other collections(09)                   Construction defect(10)
                  DamageNVrongful Death)Tort                              Insurance coverage (18)                 Mass tort(40)
                        Asbestos (04)                                     Other contract(37)                      Securities litigation (28)
                        Product liability (24)                      Real Property                                 Environmental/Toxic tort(30)
                        Medical malpractice (45)                        riEminent domain/Inverse                  insurance coverage claims arising from the
                  7
                  1     O• ther PI/PD/WD (23)                             condemnation (14)                       above listed provisionally complex case
                                                                                                                  type$(41)
                  Non-PI/PD/WD (Other)Tort                                Wrongful eviction (33)
                        Business tort/unfair business practice (07)       Other real property (26)          Enforcement of Judgment
                        Civil rights (08)                           Unlawful Detainer                             Enforcement ofjudgment (20)
                         Defamation (13)                               P1 Commercial(31)                             Miscellaneous Civil Complaint
                  C:1    Fraud (16)                                            Residential(32)                         RICO (27)
                  =
                  1 1    Intellectual property (19)                            Drugs(38)                               Other complaint (not specified above)(42)
                       Professional negligence (25)                     Judicial Review                           Miscellaneous Civil Petition
                       Other non-PI/PD/WD tort (35)                           Asset forfeiture (05)
                                                                                                                  =
                                                                                                                  I    Partnership and corporate governance (21)
                  Employment                                           CI     Petition re: arbitration award (11)
                                                                                                                  I    Other petition (not specified above)(43)
                       Wrongful termination (36)                               Writ of mandate (02)
                  ri   O• ther employment(15)                                  Other judicial review (39)
            2. This case -  1 1 Is      1 1 is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
               factors requiring exceptional judicial management:
               a. I—I Large number of separately represented parties         d.       Large number of witnesses
               b.1_1 Extensive motion practice raising difficult or novel e. I Coordination with related actions pending in one or more courts
                        issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
               c.       Substantial amount of documentary evidence           f. El Substantial postjudgment judicial supervision
           3.     Remedies sought(check all that apply): a. 1 monetary b.               nonmonetary; declaratory or injunctive relief                              c. Elpunitive
           4.     Number of causes of action (specify): 8
           5.     This case El is         .1 is not a class action suit.
           6.     If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
            Date: October 1, 2020
           Jihad M. Smaili, Esq.                                                                            441lhad            gmal&
                                          (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY 01/ ATTORNEY FOR PARTY)
                                                                                     NOTICE
                • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                               Page 1 of 2
           Form Adopted for Mandolory Use                                                                                         Cal Rules of Coud, rules 2,30, 3.220, 3400-3,403,3740;
             Judidal Council of California                              CIVIL CASE COVER SHEET                                           Cat Standards of Judicial Administration, std. 3,10
             CM-010(Rey. July 1,20071                                                                                                                                 www.courtinfo ca.gee
       Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 6 of 33 Page ID #:15
                                                                                                                                      CM-010
                                    I NSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the shoot, examples of the cases that belong under each case type in item 1 ore provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                      CASE TYPES       AND EXAMPLES
 A uto Tort                                      Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)—Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                           Breach of Rental/Lease                        Antitrust/Trade Regulation (03)
      Uninsured Motorist(46)(if the                            Contract (not unlawful detainer            Construction Defect(10)
           case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort(40)
           motorist claim subject to                      ContractNVarranty Breach—Seller                Securities Litigation (28)
           arbitration, check this item                        Plaintiff(not fraud or negligence)         Environmental/Toxic Tort(30)
           instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/F?DAND (1'71f;rional           •                      W9rr.P.941
                                                                        :                                    (aris:inp,kom pm visionally complex
Property Damage/Wrongful Death)                         'Other Breadti•Of Contract/Warranty                  .cae type listed above)(41)
Tort                                                 CollectIons (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                       lieok aCcoUnts)(09)                            Enforcement of Judgment(20)
          Asbestos Property Damage                        Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
          Asbestos Personal Injury/                       Other Promissory Note/Collections                        County)
                Wrongful Death                                 Case                                           Confession of Judgment(non.
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental)(24)                       complex)(18)                                         Sister State Judgment
      Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                            Other Coverage                                        (not unpaid taxes)
                Physicians & Surgeons                Other Contract(37)                                       Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO(27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint(not specified
               (e.g., assault. vandalism)                                                                     above)(42)
                                                     Other Real Property (e.g., quiet title)(26)
          Intentional Infliction of                                                                           Declaratory Relief Only
                                                          Writ of Possession of Real Property
                Emotional Distress                                                                            Injunctive Relief Only (non.
                                                          Mortgage Foreclosure
          Negligent Infliction of                                                                                  harassment)
                                                         Quiet Title
                Emotional Distress                       Other Real Property (not eminent                     Mechanics Lien
          Other PI/PD/WD                                 domain, landlord/tenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Other)Tort                                 foreclosure)                                              Case (non-tort/non-complex)
                                                 Unlawful Detainer                                            Other Civil Complaint
, Business Tort/Unfair Business                                                                                  (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                      Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential(32)                                     Partnership and Corporate
         false arrest)(not civil                     Drugs (38)(if the case involves illegal                  Governance (21)
          harassment)(08)                                drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above)(43)
          (13)                                   Judicial Review                                              Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property(19)                       Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                  Writ—Mandamus on Limited Court                       Petition for Name Change
             (not medical or legal)                           Case Matter                                     Petition for Relief From Late
     Other Non-PI/PD/WD Tort(35)                         Writ—Other Limited Court Case                             Claim
Employment                                                   Review                                           Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment(15)                                Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                             Commissioner Appeals r
CM-010 fRey. July 1, 2007j                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
        Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 7 of 33 Page ID #:16

  SHORT TITLE:                                                                                          CASE NUMBER
   HIRUT DEMOZE v. J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC.


                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                 This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                    Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                    chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)


1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.
2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.



                                                                               , .,,         ,,B,                     i        to   .                  ..
                                 A '                       •                   .
                     Civil Case Cover Sheet                                             Trii:of;AOtion:                                   !Applicable-Reasons -
                           Category No.              -                                 (Ch.eck„cril ne),          ,       I-               - See Step 3 Above

                             Auto (22)              0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                  1,4, 11

                     Uninsured Motorist(46)         0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist             1,4, 11


                                                    0 A6070 Asbestos Property Damage                                                        1, 11
                          Asbestos (04)
                                                    0 A7221 Asbestos - Personal Injury/Wrongful Death                                       1, 11

                      Product Liability (24)        0 A7260 Product Liability (not asbestos or toxic/environmental)                         1, 4, 11

                                                   0 A7210 Medical Malpractice - Physicians & Surgeons                                      1,4, 11
                    Medical Malpractice(45)
                                                   0 A7240 Other Professional Health Care Malpractice                                       1,4, 11


                                                    CI A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                            1,4, 11
                         Other Personal
                         Injury Property           0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                            1,4, 11
                        Damage Wrongful                    assault, vandalism, etc.)
                           Death (23)              0 A7270 Intentional Infliction of Emotional Distress                                     1,4, 11

                                                    CI A7220 Other Personal Injury/Property Damage/Wrongful Death                           1, 4, 11




  LASC CIV 109 Rev. 12/18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3

  For Mandatory Use
                                                     AND STATEMENT OF LOCATION                                                             Page 1 of 4
              Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 8 of 33 Page ID #:17

SHORT TITLE:                                                                                                   CASE NUMBER
  HIRUT DEMOZE v. J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC.

                                   •      A                                                            B,                                               CAplilica bid
                               "Civil Case Cover Sheet                                       4 Type of,Action                             .          Reasons See Step 3,
                                      Cat'egioty N6: -                   •                   !i(Che01(only eile)

                                  Business Tort(07)             0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)                 1, 2, 3

                                   Civil Rights(08)             0 A6005 Civil Rights/Discrimination                                                  1, 2, 3

                                   Defamation (13)              0 A6010 Defamation (slander/libel)                                                   1, 2, 3

                                       Fraud (16)               0 A6013 Fraud (no contract)                                                          1, 2, 3

                                                                0 A6017 Legal Malpractice                                                            1, 2, 3
                            Professional Negligence (25)
                                                                0 A6050 Other Professional Malpractice (not medical or legal)                        1, 2, 3

                                       Other(35)                0 A6025 Other Non-Personal Injury/Property Damage tort                               1, 2, 3

                              Wrongful Termination (36)         d A6037 Wrongful Termination                                                         1, 2,0

                                                                0 A6024 Other Employment Complaint Case                                              1, 2, 3
                               Other Employment(15)
                                                                0 A6109 Labor Commissioner Appeals                                                   10

                                                                0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                     2, 5
                                                                        eviction)
                            Breach of Contract/ Warranty                                                                                             2, 5
                                       (06)                     0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                                 (not insurance)                                                                                                     1, 2, 5
                                                                0 A6019 Negligent Breach of ContractNVarranty(no fraud)
                                                                                                                                                     1, 2, 5
                                                                0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                                0 A6002 Collections Case-Seller Plaintiff                                            5, 6, 11
                                   Collections(09)
                                                                0 A6012 Other Promissory Note/Collections Case                                       5, 11
                                                                10 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt                   5, 6, 11
                                                                         Purchased on or after January 1, 2014)
                              I nsurance Coverage (18)          0 A6015 Insurance Coverage(not complex)                                              1, 2, 5, 8

                                                                0 A6009 Contractual Fraud                                                            1, 2, 3, 5
                                 Other Contract(37)             0 A6031 Tortious Interference                                                        1, 2, 3, 5
                                                                0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                1, 2, 3, 8,9
                                                            _                                                                      ...           _
                              Eminent Domain/Inverse
                                                                0 A7300 Eminent Domain/Condemnation                Number of parcels                 2,6
                        1       Condemnation (14)

                               Wrongful Eviction (33)           0 A6023 Wrongful Eviction Case                                                       2,6

                                                                0 A6018 Mortgage Foreclosure                                                         2,6
                              Other Real Property(26)           0 A6032 Quiet Title                                                                  2,6
                                                                0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)       2,6

                            Unlawful Detainer-Commercial
                                                         0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                        6, 11
                                        (31)
    Unlawful Detainer




                            Unlawful Detainer-Residential
                                                                0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)                6, 11
                                       (32)
                                 Unlawful Detainer-
                                                                0 A6020F Unlawful Detainer-Post-Foreclosure                                          2, 6, 11
                               Post-Foreclosure(341

                            Unlawful Detainer-Drugs(38)         0 A6022 Unlawful Detainer-Drugs                                                      2, 6, 11



                                                            CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2,3
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                                                               AND STATEMENT OF LOCATION                                                             Page 2 of 4
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SHORT TITLE:                                                                                                                      CASE NUMBER
                             HIRUT DEMOZE V. J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC.


                                                                                                                        B                                    -,'C'Applicable •
                                                  'Civil Case Cover Sheet                      r                 Type of Action                     .     tReSons - Sek5101?%3
                                                    'Cafejtoriy No.,                                            (Chick O'hli one)                                 Above
                                                                                               L   ru

                                                    Asset Forfeiture (05)        0 A6108 Asset Forfeiture Case                                             2, 3,6

                                                 Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfimWacate Arbitration                       2, 5
            Judicial Review




                                                                                 0 A6151 Writ - Administrative Mandamus                                    2, 8
                                                    Writ of Mandate (02)         0 A6152 Writ - Mandamus on Limited Court Case Matter                      2
                                                                                 0 A6153 Writ - Other Limited Court Case Review                            2

                                                 Other Judicial Review (39)      0 A6150 Other Writ /Judicial Review                                       2, 8

                                               Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                   .                      1, 2,8
        Provisionally Complex Litigation




                                                 Construction Defect(10)         0 A6007 Construction Defect                                               1, 2,3

                                                Claims Involving Mass Tort
                                                                                 0 A6006 Claims Involving Mass Tort                                        1, 2,8

                                                 Securities Litigation (28)      0 A6035 Securities Litigation Case                                        1, 2,8

                                                        Toxic Tort
                                                                                 0 A6036 Toxic Tort/Environmental                                          1, 2, 3, 8
                                                    Environmental(30)

                                                Insurance Coverage Claims
                                                                                 0 A6014 Insurance Coverage/Subrogation (complex case only)                1, 2, 5,8
                                                  from Complex Case (41)

                                                                                 0 A6141 Sister State Judgment                                             2,5, 11
                                                                                 0 A6160 Abstract of Judgment                                              2,6
   Enforcement
   of Judgment




                                                       Enforcement               0 A6107 Confession of Judgment(non-domestic relations)                    2, 9
                                           ,         of Judgment(20)             0 A6140 Administrative Agency Award (not unpaid taxes)                   , 2,8
                                                                                 0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax          2,8
                                                                                 0 A6112 Other Enforcement of Judgment Case                               2, 8,9

                                                        RICO (27)                0 A6033 Racketeering (RICO)Case                                           1, 2, 8
  Civil Complaints
   Miscellaneous




                                                                                 0 A6030 Declaratory Relief Only                                           1, 2,8

                                                   Other Complaints              0 A6040 Injunctive Relief Only (not domestic/harassment)                 2,8
                                               (Not Specified Above)(42)        0 A6011 Other Commercial Complaint Case (non-tort/non-complex)            1, 2,8
                                                                                0 A6000 Other Civil Complaint(non-tort/non-complex)                       1, 2,8

                                                 Partnership Corporation
                                                                                0 A6113 Partnership and Corporate Governance Case                         2, 8
                                                    Governance(21)

                                                                                0 A6121 Civil Harassment With Damages                                     2, 3,9
  Miscellaneous
  Civil Petitions




                                                                                0 A6123 Workplace Harassment With Damages                                 2,3,9
                                                                                0 A6124 Elder/Dependent Adult Abuse Case With Damages                     2, 3,9
                                                   Other Petitions (Not
                                                  Specified Above)(43)          0 A6190 Election Contest                                                  2
                                                                                0 A6110 Petition for Change of Name/Change of Gender                      2, 7
                                                                                0 A6170 Petition for Relief from Late Claim Law                           2,3,8
                                                                                0 A6100 Other Civil Petition                                              2, 9




                                                                                CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
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                                                                                   AND STATEMENT OF LOCATION                                              Page 3 of 4
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 SNORT TITLE:                                                                         CASE NUMBER
  HIRUT DEMOZE v. J.P. MORGAN CHASE NATIONAL CORPORATE SERVICES, INC.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                  ADDRESS:
   REASON:
                                                                    2710 Media Drive Center
       1.0 2.S3.04.0 5.06.07. 08.0 9.010.0 11.



   CITY:                                  STATE:     ZIP CODE:

    Los Angeles                             CA       90056


Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL JUDICIAL                  District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: September 30, 2020                                                        4,/JiAati Skezia
                                                                                 (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV.010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.
            ..
       7. Additional copies of documents tcyje.conforryied by the Clerk. Copies of the cover sheet and this addendum
          mitt, be served along With the klmmon§Fnd:complaint, or ether initiating pleading in the case...




                                         CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                            AND STATEMENT OF LOCATION                                                    Page 4 of 4
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                Case
Electronically FILE
                       2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 11 of 33 Page ID #:20
                   y Superior Court of California, County of Los Angeles on 10/01/2020 11:20 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernande ,Deputy Clerk
                                                                               .     20STCV37764
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: David Sotelo




                  Jihad M. Smaili, Esq.[262219]
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                  600 W. Santa Ana Blvd., Suite 202
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                  714-547-4700
                4
                  714-547-4710 (facsimile)
                5 jihad smaililaw.com

               6      Attorney for Plaintiff
                7
                8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA

                9                                            FOR THE COUNTY OF LOS ANGELES
              10
                      HIRUT DEMOZE,an individual;                                  ) Case No.:      2OST CV 37764
              11                                                                   ) Assigned for all purposes to the
                                            Plaintiff,                             )
              12                                                                   )
              13                  v.                                               ) COMPLAINT:
                                                                                   )    1. Disability Discrimination in Violation of
              14      J.P. MORGAN CHASE NATIONAL                                   )        Gov. Code §12940 et seq.
                      CORPORATE SERVICES,INC., a                                   )    2. Race and National Origin Discrimination in
              15      corporate entity form unknown; and                           )        Violation of Gov. Code §12940 etseq.
              16      DOES 1-50, inclusive,                                        )    3. Failure to Accommodate in Violation of Gov.
                                                                                   )        Code § 12940(m)
              17                           Defendants.                             )    4. Failure to Engage in Interactive Process in
                                                                                   )        Violation of Gov. Code § 12940(n)
              18                                                                        5. Failure to Prevent Discrimination in
                                                                                   )
              19                                                                   )        Violation of Gov. Code § 12940(k)
                                                                                   )    6. Retaliation in Violation of Gov. Code
              20                                                                   )        §12940(h)
                                                                                   )    7. Wrongful Termination
              21
                                                                                   )    8. Violation of Business & Professions Code
              22                                                                   )        § 17200 et seq.
                                                                                   )           DEMAND FOR JURY TRIAL
              23                                                                   )          UNLIMITED JURISDICTION
              24                                                                   )

              25
              26
              27

              28

                                                                                      COMPLAINT
                              Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 12 of 33 Page ID #:21




                               1   Plaintiff Hirut Demoze (hereinafter "Plaintiff' and/or "Jimenez") alleges as follows:
                               2                                         THE PARTIES
                               3          1.     At all times mentioned herein, and at the time the causes of action arose,
                               4   Plaintiff was and is an individual.
                               5          2.     Plaintiff is informed and believes and thereon alleges that at all times
                               6   mentioned herein, Defendant J.P. Morgan Chase National Corporate Services, Inc. ("J.P.
                               7   Morgan"), is a corporate entity, form unknown, regularly conducting business in the State
                               8   of California, and specifically, in the County of Los Angeles. Plaintiff is further
                               9   informed and believes and thereon alleges that J.P. Morgan was transacting business in
                              10   the County of Los Angeles, State of California, at the time claims of Plaintiff arose. At
                              11   all times relevant, J.P. Morgan was an employer within the meaning of Government Code
                              12   §12926(d) and as such was barred from, inter alia, harassing, discriminating or retaliating
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                              13   against Plaintiff in personnel, scheduling, employment, promotion, advancement,
                              14   retention, hiring, terminating and other decisions relating to Plaintiffs employment on
                              15   the basis of age, race, physical disability or medical condition, participation in protected
                              16   activity, and other immutable characteristics.
                              17          3.     The true names and capacities, whether individual, corporate, associate, or
                              18   otherwise, of Defendants DOES 1-50, inclusive, are currently unknown to Plaintiff,
                              19   who therefore sues said Defendants by such fictitious names. Plaintiff will seek leave to
                              20   amend this complaint to show their true names and capacities when ascertained. Plaintiff
                              21   is informed and believes and thereon alleges that each Defendant named herein as a DOE
                              22   was responsible in some manner for the occurrences and damages alleged herein.
                              23          4.     Each reference in this complaint to "Defendant" and/or "Defendants" refers
                              24   to J.P. Morgan, and also refers to all Defendants sued under fictitious names,jointly and
                              25   severally.

                              26          5.     Plaintiff is informed and believes and thereon alleges that Defendants, and
                              27   each of them, are now and/or at all times mentioned in this Complaint were in some

                              28   manner legally responsible for the events, happenings and circumstances alleged in this

                                                                           COMPLAINT

                                                                                2
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        1   Complaint.     Plaintiff is further informed and believes and thereon alleges that
       2    Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,
       3    wrongs, complaints, injuries and/or damages alleged in this Complaint.                Likewise,
       4    Defendants, and each of them are now and/or at all times mentioned in this Complaint
        5   were the agents, servants and/or employees of some or all other Defendants, and vice-
       6    versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all
        7   times mentioned in this Complaint were acting within the course and scope of that
        8   agency, servitude and/or employment.
       9           6.     Plaintiff is informed and believes and thereon alleges that Defendants, and
       10   each of them, are now and/or at all times mentioned in this Complaint were members of
       11   and/or engaged in a joint venture, partnership and common enterprise, and were acting
       12   within the course and scope of, and in pursuance of said joint venture, partnership and
tF5i
       13   common enterprise.
       14          7.     Plaintiff is informed and believes and thereon alleges that Defendants, and each of

       15   them, at all times mentioned in this Complaint, concurred and contributed to the various acts and

       16   omissions of each and every one of the other Defendants in proximately causing the complaints,
.p
       17   injures and/or damages alleged in this Complaint. Plaintiff is further informed and believes and

       18   thereon alleges that Defendants, and each of them, at all times mentioned in this Complaint,

       19   approved of condoned and/or otherwise ratified each and every one of the acts and/or omissions

       20   alleged in this Complaint. Likewise, Defendants, and each of them, at all times mentioned in this

       21   Complaint aided and abetted the acts and omissions of each and every one of the other

       22   Defendants thereby proximately causing the damages alleged in this Complaint.

       23          8.     Plaintiff is informed and believes and thereon alleges that at all actions alleged

       24   herein committed by Defendants were committed by managing agents of Defendants, or, such

       25   conduct was known by and/or ratified by managing agents of Defendants.

       26                                 VENUE AND JURISDICTION
       27          9.      Venue is proper in this county and this Court has jurisdiction over this

       28   matter because Defendants operate out of Los Angeles Beach, California, and, all of the

                                                      COMPLAINT

                                                           3
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 1   claims and causes of action alleged herein occurred and accrued in the County of Los
2    Angeles, State of California.
 3                                   FACTUAL BACKGROUND
4           10.    On or about October 9, 1993, Defendant hired Plaintiff as a Senior
 5   Specialist. Her job duties included, but were not limited to, processing corporation
6    payments and depositing them into accounts.
 7          1 1.   Throughout her employment, Plaintiff had annual reviews that noted her
 8   positive contribution and diligent work product. She even volunteered monthly to
9    perform extra work by serving on the Quality Board. Her most recent performance
10   review, from September 2018, was likewise positive. Plaintiff was, in all respects, a
11   great employee.
12          12.    However, Defendant's agent(s) utilized factors to measure Plaintiff that no
13   amount of her hard work could meet, and these factors ultimately resulted in Plaintiff's
14   termination. Despite her more than two decades of diligent work for Defendant, Plaintiff
15   was never recognized for her work. Though volunteered monthly to work on the Quality
16   Board ("Q-board"), had high production, and minimal errors—in most years, zero
17   errors—in her work, her efforts were overshadowed by her race and national origin.
18   Unfortunately these factors played a larger role in her success at Defendant than her
19   actual work because she is Black and of Ethiopian decent. Defendant's agent and
20 Plaintiff's manager, "Angela," who is of Filipino descent, repeatedly and almost
21   exclusively recognized Filipino employees. In stark contrast to the lack of recognition
22   allotted to Plaintiff, recognition for Filipino employees in Angela's charge was regularly
23   bestowed. For instance in the entire year of 2017, Plaintiff had no errors in her work. This
24   is/was an accomplishment that is/was specifically promoted and rewarded at Defendant.
25   However, Plaintiff was not recognized for this accomplishment. That same year however,
26   another employee viz. Susan, was recognized though she had made three errors in her
27   production. As a consequence of the recognition, Susan was then given a raise. Plaintiff
28   was not recognized, and consequently was not given a raise, though her work product

                                             COMPLAINT

                                                  4
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                              1   record was better than Susan. However, Plaintiff is Black and of Ethiopian decent, while
                              2   Susan is of Filipino decent. Plaintiff is informed and believes that race and national origin
                              3   played a larger role in the compensation than work product.
                              4          13.    This incident prompted Plaintiff to speak up that something was wrong.
                              5   Following her annual review in November 2017, she complained to Defendant's agent,
                              6   Angela, about her small raise. She explained in detail that her "average production was
                              7   over 140, without errors," and her raise was not congruent with her work. Angela
                              8   abruptly ended the conversation by arguing that Plaintiff's work was different from the
                              9   work of other employees, like Susan, who were producing higher quantities and without
                             10   errors. However, Plaintiff later had occasion to speak with Susan, who informed her that
                             11   she had made three errors in production that year. With this new information, Plaintiff
                             12   returned to speak with Angela about the discrepancy between her raise and that of Susan.
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                             13   Instead of offering any kind of constructive response, Angela intimidated her and insisted
                             14   that she was justified in withholding Plaintiff's raise.
                             15          14.    Compensation was not the only area that Plaintiff noticed disparate
                             16   treatment at Defendant. She also noticed that Angela terminated non-Filipino employees
                             17   at a higher rate than other employees. This observation was consistent even when the
                             18   non-Filipino employee held a leadership position, such as in the case of "Ina." This was
                             19   even the case when the termination of the non-Filipino would result in the company being
                             20   short-staffed. There seemed to be a ratio that Angela wanted to achieve in the branch.
                             21   Moreover, other managers were aware that Angela gave employees who left negative
                             22   reviews when potential employer contacted her for referrals.
                             23          15.    On or about September 4, 2018 Plaintiff attended a meeting with
                             24   Defendant's agent, Angela. At the meeting, Angela explained that she planned to hire
                             25   more people. In response, Plaintiff informed Angela that she could and wanted to work
                             26   more hours. Plaintiff made this request three separate times and each time Angela
                             27   announced that she was going to hire more people until she states, "you'll get your
                             28   hours." The following day, on September 5, 2018, Plaintiff spoke up during another

                                                                           COMPLAINT

                                                                                5
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     1    meeting with Satin, Susan, Falinish, and Angela. She again inquired about when she
     2    could expect to receive additional hours to work. Angela snapped, "Give me volume!"
     3    Absolutely startled by her aggressive tone, Plaintiff retreated back to work. Two days
     4    later, on September 7, 2018, Plaintiff was devastated to learn that she was being
     5    terminated.
     6           16.    Upon information and belief, Plaintiff was discriminated against, harassed,
     7    retaliated against and ultimately terminated due to her disabilities, work-related injury,
     8    perceived filing/filing for workers' compensation, requests for accommodation, and
     9    engagement in protected activity. Further, Defendant refused to provide Plaintiff with
    10    workers' compensation, paperwork, refused to engage in a good-faith interactive process
    11    and refused to offer any accommodation.
    12           17.    Before filing this lawsuit, Plaintiff exhausted her administrative remedies
    13    by timely filing a complaint with the Department of Fair Employment and Housing
    14 (DFEH)and receiving a right-to-sue notice, dated August 30, 2019.
'
t441 15                                 FIRST CAUSE OF ACTION
    16                           DISCRIMINATION IN VIOLATION OF
    17                   CALIFORNIA GOVERNMENT CODE § 12940 et seq.
    18                                   (Against All Defendants)
    19           18.    Plaintiff refers to all allegations contained in paragraphs 1-17, inclusive and
    20    by such reference incorporates the same herein as though fully realleged in detail.
    21           19.    California law, and particularly the Fair Employment and Housing Act
    22 ("FEHA"), codified at Government Code §12900 et seq., prohibits discrimination against

    23    persons with a physical condition or disability, which is broadly defined therein, and
    24    which includes even the perception that a person has a medical or mental condition
    25    and/or physical condition or disability. FEHA further prohibits discrimination based
    26    upon, inter alia, age, race, gender, sexual orientation, national origin, pregnancy and
    27    other immutable characteristics.
    28          20.     Plaintiff has a disability as alleged above.

                                                  COMPLAINT

                                                        6
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                             1          21.     Defendant was aware of Plaintiff's on the job injury and her resulting
                             2   disability, as herein alleged, because Plaintiff specifically reported said disability directly
                             3   to Defendant via Defendant's supervisors and managing agents.
                            4           22.     At all times herein alleged, Plaintiff was qualified for the position of
                             5   employment that she held with Defendant and was able to perform the essential functions
                            6    of that job.
                             7          23.     Plaintiff is informed and believes and thereon alleges that as a direct and
                             8   proximate result of Plaintiff's disability, Defendant refused to engage Plaintiff in an
                             9   interactive process, refused to communicate with Plaintiff, refused to accommodate
                            10 Plaintiff 's medical restrictions, denied Plaintiff opportunity for advancement, promotion
                            11   and the ability to earn a living, and terminated Plaintiff.
                            12          24.     Defendant's discriminatory action against Plaintiff, as alleged above,
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                            13   constitutes unlawful discrimination in employment on account of Plaintiff's disability in
                            14   violation of FEHA,and particularly Gov't Code §12940(a).
                            15          25.     As a direct, foreseeable, and proximate result of Defendant's discriminatory
                            16   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
.p
                            17   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                            18   amounts of money Plaintiff would have received but for Defendants' discriminatory
                            19   conduct, all in an amount subject to proof at the time of trial, but believed to be no less
                            20   than three hundred thousand dollars.
                            21          26.     As a direct, foreseeable, and proximate result of the wrongful conduct of
                            22   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                            23   distress and anguish, humiliation, anxiety, and medical expenses all to Plaintiff damage
                            24   in an amount subject to proof at trial.
                            25          27.     Plaintiff is informed and believes and thereon alleges that the above-alleged
                            26   actions of Defendant were the result and consequence of Defendant's failure to supervise,
                            27   control, direct, manage, and counsel those agents throughout Plaintiff 's employment and

                            28   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and

                                                                           COMPLAINT

                                                                               7
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 1   enabled agents to believe that their conduct was appropriate.
 2          28.    Defendant, and each of them, failed to offer counseling or comfort to
 3   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
 4   workplace.
 5          29.    Plaintiff is informed and believes and thereon alleges that Defendant has a
 6   systemic and wide-spread policy of discriminating against and retaliating against
 7   employees with disabilities. By failing to stop the discrimination, harassment and
 8   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
9    directly caused a vicious cycle of wrongful conduct with impunity.
10          30.    Plaintiff is informed and believes and thereon alleges that Plaintiff's on the
11   job injury and resulting disability was a motivating factor in the decision of Defendant to
12   discriminate against her.
13          31.    The outrageous conduct of Defendant, and each of them, as alleged herein,
14   was done with oppression and malice by Defendant and its supervisors and managers,
15   along with conscious disregard of Plaintiff's rights, and were ratified by those other
16   individuals who were managing agents of Defendant.
17          32.    The conduct of Defendant as alleged hereinabove was done with malice,
18   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
19   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
20          33.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
21   amount according to proof at the time of trial which fees and expenses are recoverable
22   pursuant to Gov't Code §12900 et seq.
23                               SECOND CAUSE OF ACTION
24                  RACE AND NATIONAL ORIGIN DISCRIMINATION
25                      IN VIOLATION OF GOV.CODE §12940 et seq.
26                                  (Against all Defendants)

27          34.    Plaintiff refers to all allegations contained in paragraphs 1-33, inclusive and

28   by such reference incorporates the same herein as though fully realleged in detail.

                                             COMPLAINT

                                                  8
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                             1          35.     At all times herein mentioned, Gov't Code §12900 et seq. were in full force
                             2          and effect and were binding on Defendant. These sections prohibit discrimination
                             3          against persons based on race and/or national origin.
                             4          36.     Plaintiff is Black and of Ethiopian decent.
                             5          37.     Defendant was aware that Plaintiff is Black and of Ethiopian decent
                            6    because Plaintiff specifically advised Defendant, and each of them, of the same.
                             7          38.     Defendant treated Plaintiff differently from its other employees. Defendant
                             8   treated its Caucasian and Asian employees with favoritism. Caucasian and Asian
                             9   employees could expect accommodation for their disabilities).
                            10          39.     At all times herein alleged, Plaintiff was qualified for the position of
                            11   employment that she held with Defendant and was able to perform the essential functions
                            12   of that job.
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                            13          40.     Plaintiff is informed and believes and thereon alleges that as a direct and
                            14   proximate result of Plaintiff's race/national origin, Defendant decided to terminate
                            15   Plaintiff's employment, and in fact, did terminate Plaintiff's employment.
                            16          41.     Defendant's discriminatory action against Plaintiff, as alleged above,
                            17   constitutes unlawful discrimination in employment on account of Plaintiff's race/national
                            18   origin, in violation of FEHA,and particularly Gov't Code §12940.
                            19          42.     As a direct, foreseeable, and proximate result of Defendant's discriminatory
                            20   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                            21   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                            22   amounts of money Plaintiff would have received but for Defendant's discriminatory
                            23   conduct, all in an amount believed to be three hundred thousand dollars, subject to proof
                            24   at the time of trial.

                            25          43.     As a direct, foreseeable, and proximate result of the wrongful conduct of

                            26   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional

                            27   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an

                            28   amount subject to proof at trial.

                                                                         COMPLAINT

                                                                              9
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                                  1         44.    Plaintiff is informed and believes and thereon alleges that the above-alleged
                                  2   actions of Defendant were the result and consequence of Defendant's failure to supervise,
                                  3   control, direct, manage, and counsel those agents throughout Plaintiff's employment,and
                                  4   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                                  5   enabled agents to believe that their conduct was appropriate.
                                 6          45.    Defendants, and each of them, failed to offer counseling or comfort to
                                  7   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                                  8   workplace.
                                 9          46.    Plaintiff is informed and believes and thereon alleges that Defendant has a
                                 10   systemic and wide-spread policy of discriminating against and retaliating against
                                 11   employees based on their race/national origin. By failing to stop the discrimination,
                                 12   harassment and retaliation, Defendant ratified the discriminatory and retaliatory conduct
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                                 13   which, in turn, directly caused a vicious cycle of wrongful conduct with impunity.
                                 14         47.    Plaintiff is informed and believes and thereon alleges that her race was a
                                 15   motivating factor in the decision of Defendant to discriminate against her and/or
                                 16   terminate her.
                                 17         48.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                                 18   was done with oppression and malice by Defendant and its supervisors and managers,
                                 19   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                                 20   individuals who were managing agents of Defendant.
                                 21         49.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
                                 22   amount according to proof at the time of trial which fees and expenses are recoverable

                                 23   pursuant to Gov't Code §12900 et seq.
                                 24                                THIRD CAUSE OF ACTION

                                 25          FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF

                                 26                    CALIFORNIA GOVERNMENT CODE § 12940(m)

                                 27                                 (Against All Defendants)

                                 28         50.    Plaintiff refers to all allegations contained in paragraphs 1-49, inclusive and

                                                                              COMPLAINT

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                          Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 21 of 33 Page ID #:30




                          1   by such reference incorporates the same herein as though fully realleged in detail.
                          2            51.   Plaintiff has a disability as alleged above.
                          3            52.   Defendant was aware of Plaintiff's disability, as alleged above and herein.
                          4            53.   Defendant failed and refused to accommodate Plaintiff's needs, and, failed
                          5   and refused to engage in an interactive process with Plaintiff, and, failed to address
                         6    Plaintiff's needs in light of her disabilities.
                          7            54.   At all times herein alleged, Plaintiff was qualified for the position of
                          8   employment that she held with Defendant and was able to perform the essential functions
                          9   of that job if such reasonable accommodation had been made by Defendant. At no time
                         10   would the performance of the functions of the employment position, with a reasonable
                         11   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
                         12   person's health or safety, nor would it have created an undue hardship to the operation of
                         13   Defendant's business.
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                         14            55.   Defendant's failure to accommodate Plaintiff, as alleged above, constitutes
                         15   unlawful conduct in employment in violation of FEHA, and particularly Gov't Code
                         16   §12940.
                         17            56.   As a direct, foreseeable, and proximate result of Defendant's wrongful
                         18   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                         19   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                         20   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,

                         21   in an amount of at least three hundred thousand dollars, all subject to proof at the time of
                         22   trial.

                         23            57.   As a direct, foreseeable, and proximate result of the wrongful conduct of

                         24   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional

                         25   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an

                         26   amount subject to proof at trial.

                         27            58.   Plaintiff is informed and believes and thereon alleges that the above-alleged

                         28   actions of Defendant were the result and consequence of Defendant's failure to supervise,

                                                                        COMPLAINT

                                                                                11
Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 22 of 33 Page ID #:31




 1   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
2    that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
 3   enabled agents to believe that their conduct was appropriate.
4           59.    Defendant, and each of them, failed to offer counseling or comfort to
 5   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
6    workplace.
 7          60.    Plaintiff is informed and believes and thereon alleges that Defendant has a
 8   systemic and wide-spread policy of discriminating against and retaliating against
9    employees with disabilities.    By failing to stop the discrimination, harassment and
10   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
11   directly caused a vicious cycle of wrongful conduct with impunity.
12          61.    Plaintiff is informed and believes and thereon alleges that Defendant's
13   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
14   Defendant to discriminate against her.
15          62.    The outrageous conduct of Defendant, and each of them, as alleged herein,
16   was done with oppression and malice by Defendant and its supervisors and managers,
17   along with conscious disregard of Plaintiff's rights, and were ratified by those other
18   individuals who were managing agents of Defendant.
19          63.    The conduct of Defendant as alleged hereinabove was done with malice,
20   fraud, or oppression, and in reckless disregard of Plaintiff's rights under California law.
21   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
22          64.    Plaintiff also continues to incur attorneys' fees and legal expenses in an

23   amount according to proof at the time of trial which fees and expenses are recoverable

24   pursuant to Gov't Code §12900 et seq.

25                              FOURTH CAUSE OF ACTION

26             FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN

27           VIOLATION OF CALIFORNIA GOVERNMENT CODE § 12940(n)

28                                  (Against All Defendants)

                                              COMPLAINT

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                            Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 23 of 33 Page ID #:32




                             1           65.   Plaintiff refers to all allegations contained in paragraphs 1-65, inclusive and
                             2   by such reference incorporates the same herein as though fully realleged in detail.
                             3           66.   Plaintiff has a disability as alleged above.
                             4           67.   Defendant was aware of Plaintiff's disability, as alleged above and herein.
                             5           68.   Defendant failed and refused to engage Plaintiff in an interactive process
                             6   designed to unite Plaintiff with her job.
                             7           69.   At all times herein alleged, Plaintiff was qualified for the position of
                             8   employment that he held with Defendant and was able to perform the essential functions
                             9   of that job if such reasonable accommodation had been made by Defendant. At no time
                            10   would the performance of the functions of the employment position, with a reasonable
                            11   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
                            12   person's health or safety, nor would it have created an undue hardship to the operation of
                            13   Defendant's business.
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                            14           70.   Defendant's failure to engage with Plaintiff in an interactive process, as
                            15   alleged above, constitutes unlawful conduct in employment in violation of FEHA, and
                            16   particularly Gov't Code §12940.
                            17           71.   As a direct, foreseeable, and proximate result of Defendant's wrongful
                            18   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                            19   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                            20   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,
                            21   all in an amount no less than three hundred thousand dollars, subject to proof at the time
                            22   of trial.
                            23           72.   As a direct, foreseeable, and proximate result of the wrongful conduct of
                            24   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional

                            25   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an

                            26   amount subject to proof at trial.

                            27           73.   Plaintiff is informed and believes and thereon alleges that the above-alleged

                            28   actions of Defendant were the result and consequence of Defendant's failure to supervise,

                                                                         COMPLAINT

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                               Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 24 of 33 Page ID #:33




                                1   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
                               2    that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                                3   enabled agents to believe that their conduct was appropriate.
                               4          74.     Defendant, and each of them, failed to offer counseling or comfort to
                                5   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                               6    workplace.
                                7         75.     Plaintiff is informed and believes and thereon alleges that Defendant has a
                                8   systemic and wide-spread policy of discriminating against and retaliating against
                                9   employees with disabilities.    By failing to stop the discrimination, harassment and
                               10   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                               11   directly caused a vicious cycle of wrongful conduct with impunity.
                               12         76.     Plaintiff is informed and believes and thereon alleges that Defendant's
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                               13   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
                               14   Defendant to discriminate against her and ultimately terminate her.
                               15         77.     The outrageous conduct of Defendant, and each of them, as alleged herein,
                               16   was done with oppression and malice by Defendant and its supervisors and managers,
                               17   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                               18   individuals who were managing agents of Defendant.
                               19         78.     The conduct of Defendant as alleged hereinabove was done with malice,
                               20   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.

                               21   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                               22         79.     Plaintiff also continues to incur attorneys' fees and legal expenses in- an

                               23   amount according to proof at the time of trial which fees and expenses are recoverable

                               24   pursuant to Gov't Code §12900 et seq.

                               25                                FIFTH CAUSE OF ACTION

                               26               FAILURE TO PREVENT DISCRIMINATION IN VIOLATION

                               27                  OF CALIFORNIA GOVERNMENT CODE § 12940(k)

                               28                                  (Against All Defendants)

                                                                            COMPLAINT

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        Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 25 of 33 Page ID #:34




        1          80.    Plaintiff refers to all allegations contained in paragraphs 1-79, inclusive and
        2   by such reference incorporates the same herein as though fully realleged in detail.
        3          81.    During the course of employment, Defendant, and each of them, failed to
        4   prevent or remedy discrimination, retaliation and harassment toward Plaintiff on the basis
        5   of her disability and participation in protected conduct in violation of Government Code
        6   §12940(k).
        7          82.    As a direct result of the wrongful conduct of Defendant, Plaintiff suffered,
        8   and continues to suffer, substantial losses in earnings and other benefits in an amount
        9   according to proof at the time trial, including special and general damages.
       10          83.    As a direct, foreseeable, and proximate result of the wrongful conduct of
       11   Defendant, Plaintiff has suffered and continues to suffer emotional distress and anguish,
       12   humiliation, substantial losses in salary, bonuses, job benefits, and other employment
       13   benefits which he would have received all to her damage in a sum within the jurisdiction
       14   of the Court to be ascertained according to proof
t3n1   15          84.    Plaintiff is informed and believes and thereon alleges that the outrageous

els    16   conduct of Defendant, and each of them, as alleged herein, was done with oppression and
op
       17   malice by Plaintiff's supervisors and managers, along with conscious disregard of
       18   Plaintiff's rights, and were ratified by those other individuals who were managing agents
       19   of Defendant.
       20          85.    As a proximate result of the wrongful conduct of Defendant, and each of

       21   them, Plaintiff has suffered and continues to suffer humiliation, emotional distress, and

       22   mental and physical pain and anguish according to proof at the time of trial.

       23         86.     These unlawful acts were further encouraged by Defendant and done with a

       24   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of

       25   injuring Plaintiff. The conduct of Defendant alleged hereinabove was done with malice,

       26 fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
       27   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.

       28         87.    Plaintiff has also incurred and continues to incur attorneys' fees and legal

                                                    COMPLAINT

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                                Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 26 of 33 Page ID #:35




                                 1   expenses in an amount according to proof at the time of trial.
                                2                                      SIXTH CAUSE OF ACTION
                                 3                                 RETALIATION IN VIOLATION OF
                                4                          CALIFORNIA GOVERNMENT CODE §12940(h)
                                 5                                       (Against All Defendants)
                                6           88.    Plaintiff refers to all allegations contained in paragraphs 1-87, inclusive,
                                 7   and by such reference incorporates the same herein as though fully realleged in detail.
                                 8          89.    At all times herein mentioned, FEHA, Government Code §12940(h), was in
                                9    full force and effect and was binding on Defendant. This statute requires Defendant to
                                10   refrain from retaliating against Plaintiff.
                                11          90.    Plaintiff is informed and believes and thereon alleges that as a consequence
                                12   of lodging complaints with Defendants about the harassing and discriminatory acts being
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                                13   committed against Plaintiff, coupled with Plaintiff's disability sustained while on-the-job
                                14   for which workers compensation coverage was required along with reasonable
                                15   accommodation, Defendant took retaliatory action against Plaintiff by failing to conduct a
                                16   good faith interactive process aimed at reuniting Plaintiff with Plaintiff job, failing to
                                17   determine the essential functions of Plaintiff's job, mistreat Plaintiff, and deny Plaintiff
                                18   advancement and promotion.
                                19          91.    Defendant unlawfully retaliated against Plaintiff after he engaged in
                                20   protected activity after being injured on the job, such as without limitation, filing or
                                21   intending to file for workers' compensation benefits due to safety concerns and
                                22   requesting accommodation, and, lodging workplace complaints related to the harassment
                                23   and discrimination that she was facing, and other complaints of a hostile and unsafe
                                24   working environment.
                                25          92.    As a proximate result of Defendant's willful, knowing, and intentional
                                26   conduct against Plaintiff, she has sustained and continues to sustain substantial losses in
                                27   Plaintiff earnings and other employment benefits and continues to suffer humiliation,
                                28   emotional distress, and mental and physical pain an and anguish, and sleep dysfunction,

                                                                              COMPLAINT

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     Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 27 of 33 Page ID #:36




      1   all to Plaintiff damage in a sum according to proof.
      2          93.    These unlawful acts were further encouraged by Defendant and done with a
      3   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
      4   injuring Plaintiff. In light of Defendant's willful, knowing, and intentional discrimination
      5   against Plaintiff which culminated in Plaintiff discharge, Plaintiff seeks an award of
      6   punitive and exemplary damages in an amount according to proof.
      7          94.    Plaintiff has incurred and continues to incur legal expenses and attorney
      8   fees. Plaintiff is presently unaware of the precise amount of said expenses and fees and
      9   prays leave of court to amend this Complaint when said amounts are more fully known.
     10                                  SEVENTH CAUSE OF ACTION
     11                                   WRONGFUL TERMINATION
     12                                      (Against all Defendants)
     13          95.    Plaintiff refers to all allegations contained in paragraphs 1-94, inclusive and
     14   by such reference incorporates the same herein as though fully realleged in detail.
     15          96.    Plaintiff informed Defendants that she suffered from disabilities. Further,
     16   Defendants were aware of Plaintiff's requests for accommodation and complaints about
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     17   her workplace environment. Defendants were also aware that Plaintiff filed a worker's
     18   compensation claim and sought medical treatment pursuant to the same.
     19          97.    Labor Code §232.5 makes it illegal for an employer to prohibit an
     20   employee from discussing their working conditions.
     21          98.    Labor Code §6310 protects an employee's right to complain of unsafe
     22   working conditions.

     23          99.    Labor Code §6400 requires employers to provide a work environment that
     24   is safe for its employees.

     25          100.   Gov't Code §12940 et seq., prohibits forms of discrimination against

     26   protected classes of employees.

     27          101.   Defendant wrongfully terminated Plaintiff in violation of a substantial and

     28   fundamental public policy in that a determining and motivating factor in Defendants'

                                                  COMPLAINT

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                            Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 28 of 33 Page ID #:37




                             1   decision to terminate Plaintiff was the desire to retaliate against her because she: (i)
                             2   suffered on the job injury, (ii) had a disability, (iii) requested and required reasonable
                             3   accommodation,(iv) required an interactive process, and (v) lodged complaints.
                            4           102.   Plaintiff is informed and believes and thereon alleges that these factors
                             5   made up Defendants decision to terminate Plaintiff and/or played an important and
                            6    integral role in said decision. Such discrimination was in violation of the public policy of
                             7   the State of California and resulted in damage and injury to Plaintiff as alleged herein.
                             8          103.   As a proximate result of Defendants willful, knowing, and intentional
                            9    discrimination and retaliation against Plaintiff, she has sustained and continues to sustain
                            10   substantial losses in Plaintiff earnings and other employment benefits and continues to
                            11   suffer humiliation, emotional distress, and mental and physical pain an and anguish, and
                            12   loss of sleep/sleep dysfunction, all to her damage in a sum according to proof.
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                            13          104.   In light of Defendants willful, knowing, and intentional discrimination
                            14   against Plaintiff which resulted in her wrongful termination, Plaintiff seeks an award of
                            15   punitive and exemplary damages in an amount according to proof.
                            16                               EIGHTH CAUSE OF ACTION
                            17                                NINTH CAUSE OF ACTION
                            18          VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200 et seq.
                            19                                  (Against All Defendants)
                            20          105.   Plaintiff refers to all allegations contained in paragraphs 1-104 inclusive,
                            21   and by such reference incorporates the same herein as though fully realleged in detail.
                            22          106.   Defendant, and each of them, have engaged in unfair and unlawful

                            23   business practices as set forth above.
                            24          107.   Business & Professions Code § 17200 et seq. prohibits unlawful and unfair

                            25   business practices.

                            26          108.   By engaging in the above-described acts and practices, Defendant, and each

                            27   of them, have committed one or more acts of unfair, unlawful or fraudulent competition

                            28   within the meaning of Business & Professions Code §17200 et seq.

                                                                          COMPLAINT

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                           Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 29 of 33 Page ID #:38




                            1          109.    Defendant, and each of them, have violated statutes and public policies.
                            2   Through the conduct alleged in this Complaint, Defendant, and each of them, have acted
                            3   contrary to public policies and have engaged in other unlawful and unfair business
                            4   practices in violation of Business & Professions Code § 17200 et seq., depriving Plaintiff
                            5   and all interested persons of rights, benefits, and privileges guaranteed to all employees
                           6    under law.
                            7          110.    As a direct and proximate result of the aforementioned acts and practices,
                            8   Plaintiff has suffered a loss of money and property in the form of wages and benefits that
                            9   she would have received as an employee of Defendant, and each of them.
                           10          1 11.   Plaintiff seeks an order of this Court awarding restitution, injunctive relief
                           11   and all other relief allowed under Business & Professions Code §17200 et seq., plus
                           12   interest and costs.
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                                                                        COMPLAINT

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                             Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 30 of 33 Page ID #:39




                              1                                  PRAYER FOR RELIEF
                              2   WHEREFORE,Plaintiff prays for judgment as follows:
                              3     1. For all actual, consequential, and incidental damages, including but not limited to
                              4         loss of earnings and employee benefits, according to proof, but no less than three
                              5         hundred thousand dollars;
                             6      2. For restitution for unfair competition pursuant to Business & Professions Code
                              7         §17200 et seq., resulting from Defendants' unlawful business acts and practices;
                              8         according to proof;
                              9     3. For an order enjoining Defendants and their agents, servants, and employees, and
                             10         all persons acting under, in concert with, or for them, from acting in derogation of
                             11         any rights or duties alleged in this Complaint;
                             12     4. For pre-judgment and post-judgment interest, according to proof;
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                             13     5. For punitive and exemplary damages, according to proof;
                             14     6. For attorneys' fees, according to proof and statute;
                             15     7. For costs of suit incurred herein;
                             16     8. For such other relief and the Court may deem just and proper.
                             17
                             18   Dated: October 1, 2020                    SMAILI & ASSOCIATES,P.C.
                             19
                             20                                             By:   /s/jihac 5t/t. Smola
                             21                                                   Jihad M. Smaili, Esq.
                                                                                  Attorney for Plaintiff
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                                                                        COMPLAINT

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                          Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 31 of 33 Page ID #:40




                           1                               DEMAND FOR JURY TRIAL
                           2         Plaintiff hereby requests a trial by jury.
                           3
                               Dated: October 1, 2020                    SMAILI & ASSOCIATES,P.C.
                          4
                           5
                          6    a                                         By:      /s/Jihad        Smaiti
                                                                                 Jihad M. Smaili, Esq.
                           7                                                     Attorney for Plaintiff
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                                                                       COMPLAINT

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                                                                                                       Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                            FILED
 Stanley Mosk Courthouse                                                                           swarior aunt of California
                                                                                                       County of Los Alvalos
 1 11 North Hill Street, Los Angeles, CA 90012
                                                                  Ty-p-e tax-H--rere—                       10/01/2020
                   NOTICE OF CASE ASSIGNMENT                                                  5hogiR Ca3f&,EmbuGyaOtier Ca& aituuti
                                                                                               sy      H. nota~andaz Depuly
                         UNLIMITED CIVIL CASE

                                                                                        CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.       20S1CV37764

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM I                     ASSIGNED JUDGE                        DEPT          ROOM
   V     David Sotelo                       40




    Given to the Plaintiff/Cross-Complainant/Attorney of Record      Sherri R. Carter, Executive Officer / Clerk of Court
    on 10/02/2020                                                            By H. Flores-Hernandez                                 , Deputy Clerk
                (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:21-cv-00450-MWF-JC Document 1-2 Filed 01/15/21 Page 33 of 33 Page ID #:42

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
